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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

_________________________________
TAMARA LEVI,                                  )
                                              )
          Plaintiff                           )       Civil Action No. 21-CV-30049
                                              )
                                              )
v.                                            )
                                              )
                                              )
RENTNOHO.COM, INC,                            )
SHARON K. HESTON,                             )
PASSAGE HOLDINGS, LLC, and                    )
SUSAN M. DESCARAGE                            )
                                              )
          Defendants.                         )
                                              )
___________________________________

                        NOTICE OF WITHDRAWAL OF APPEARANCE

          Pursuant to Local Rule 83.5.2, please withdraw my appearance as counsel for Plaintiff

Tamara Levi. Entry of appearance by successor counsel Meris Bergquist, Esq. precedes this

notice.


                                              Respectfully submitted,




                                              _____________________________________
                                              Elizabeth (Annie) Connor, BBO # 682467
                                              Massachusetts Fair Housing Center
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Dated: February 25, 2022
                                       Certificate of Service

   I hereby certify that this document filed through the CM/ECF system will be sent
   electronically to the registered participants as identified on the NEF on February 25, 2022,
   and by first class mail to any non-registered parties.




                                             ______________________________________
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